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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                  24-20223-CR-BLOOM/ELFENBEIN
                     CASE NO.     _____ __
                                   ______
                                   8 U.S.C. § 1324(a)(l)(A)(v)(I)                             MP
                                   8 U.S.C. § 1324 (a)(l)(B)(i v)
                                   8 U.S.C. § 1324(a)(l)(A)(i v)                    May 30, 2024
                                   8 U.S.C. § 1324(a)(l)(A)(v) (II)
                                   8 U.S.C. § 1324(a)(l)(A)(i)                                  MIAMI
                                   8 U.S.C. § 1324(a)(2)(B)(ii)
                                  18 U.S.C. § 982(a)(6)

UNITED STATES OF AMERICA

v.

YAQULELIN DOMINGUEZ-NIEVES,

        Defendant.
---------------
                                         INDICTMENT

        The Grand Jury charges that:

                                           COUNT l
             Conspiracy to Encourage and Induce Aliens to Enter the United States
                           and to Bring Aliens into the United States
                                (8 U.S.C. § 1324(a)(l)(A)(v)(I))

        From a date unknown to the Grand Jury, through on or about November 16, 2022, in

Miami-Dade and Highlands Counties, in the Southern District of Florida, and elsewhere, the

defendant,

                            YAQULELIN DOMINGUEZ-NIEVES,

did knowingly and intentionally combine, conspire, confederate, and agree with other persons

known and unknown to the Grand Jury, to commit offenses against the United States, that is:

        a.      to encourage and induce an alien to come to, enter, and reside in the United

 States, knowing and in reckless disregard of the fact that such coming to, entry, and residence is
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 and will be a violation of law, m violation of Title 8, United States Code, Section

 1324(a)(l )(A)(iv); and

        b.      to knowingly bring and attempt to bring to the United States an alien, knowing

 that said person was an alien, at a place other than a designated port of entry and place other than

 as designated by the Secretary of Homeland Security, in violation of Title 8, United States Code,

 Section 1324(a)(l )(A)(i).

        All in violation of Title 8, United States Code, Section 1324(a)(l )(A)(v)(I).

        Pursuant to Title 8, United States Code, Sections 1324(a)(l )(B)(i) and (a)(l )(B)(iv), it is

further alleged that the offense was done for the purpose of commercial advantage and private

financial gain and resulted in the death of any person.

                                        COUNTS2-4
                  Encouraging and Inducing Aliens to Enter the United States
                                (8 U.S.C. § 1324( a)(l)(A)(iv))

        From a date unknown to the Grand Jury, through on or about November 16, 2022, in

Miami-Dade and Highlands Counties, in the Southern District of Florida, and elsewhere, the

defendant,

                               YAQULELIN DOMINGUEZ-NIEVES,

did knowingly encourage and induce an alien, as set forth in Counts 2 through 4 below, to come

to, enter, and reside in the United States, knowing and in reckless disregard of the fact that such

 coming to, entry, and residence is and will be in violation of law:

                      Count                               Alien
                        2                              A.V.A.
                           3                           S.C.N.
                           4                          D.A.V.C.




                                                  2
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         In violation of Title 8, United States Code, Section 1324(a)( l )(A)(iv) and

 (a)(l )(A)(v)(II), and Title 18, United States Code, Section 2.

        Pursuant to Title 8, United States Code, Sections 1324(a)(l )(B)(i) and (a)(l )(B)(iv), it is

 further alleged that the offense was done for the purpose of commercial advantage and private

 financial gain and resulted in the death of any person.

                                         COUNTSS-7
                          Attempt to Bring Aliens into the United States
                                  (8 U.S.C. § 1324(a)(l)(A )(i))

        On or about November 16, 2022, within the Special Maritime and Territorial Jurisdiction

 of the United States, and elsewhere, with Highlands County, in the Southern District of Florida,

 being the district in which the defendant was last known to reside, the defendant,

                             . YAQULELIN DOMINGUEZ-NIEVES,

 knowing that a person was an alien, did knowingly bring and attempt to bring to the United

 States an alien, as set forth in Counts 5 through 7 below, at a place other than a designated port

 of entry and place other than as designated by the Secretary of Homeland Security, regardless of

 whether such alien has received prior authorization to come to, enter, and reside in the United States

 and regardless of any future official action which may be taken which respect to such alien:

                      Count                                Alien
                         5                              A.V.A.
                         6                               S.C.N.
                         7                             D.A.V.C.

         In violation of Title 8, United States Code, Section 1324(a)(l)(A)(i) and (a)(l)(A)(v)(II),

 and Title 18, United States Code, Section 2.




                                                   3
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        Pursuant to Title 8, United States Code, Sections 1324(a)( l)(B)(i) and (a)(l)(B)(iv), it is

 further alleged that the offense was done for the purpose of commercial advantage and private

 financial gain and resulted in the death of any person.

                                       COUNTSS-10
 Attempt to Bring Aliens into the United States for Commercial and Private Financial Gain
                                (8 U.S.C. § 1324(a)(2)(B)(ii))

        On or about November 16, 2022, within the Special Maritime and Territorial Jurisdiction

 of the United States, and elsewhere, with Highlands County, in the Southern District of Florida,

 being the district in which the defendant was last known to reside, the defendant,

                               YAQULELIN DOMINGUEZ-NIEVES,

 did knowingly bring and attempt to bring to the United States an alien, as set forth in Counts 8

 through 10 below, knowing and in reckless disregard of the fact that such alien had not received

 prior official authorization to come to, enter, and reside in the United States, regardless of any

 official action which might later be taken with respect to such alien:

                      Count                                Alien
                           8                           A.V.A.
                           9                            S.C.N.
                        10                            D.A.V.C.

        In violation of Title 8, United States Code, Section 1324(a)(2), and Title 18, United

 States Code, Section 2.

        Pursuant to Title 8, United States Code, Section 1324(a)(2)(B)(ii), it is further alleged

 that the offense was done for the purpose of commercial advantage and private financial gain.




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                                FORFEITURE ALLEGATIONS

        1.      The allegations of this Indictment are hereby re-alleged and by this reference fully

 incorporated herein for the purpose of alleging forfeiture to the United States of certain property

 in which the defendant, YAQULELIN DOMINGUEZ-NIEVES, has an interest.

        2.      Upon conviction of a violation of Title 8, United States Code, Section 1324, as

 alleged in this Indictment, the defendant shall forfeit to the United States, pursuant to Title 18,

 United States Code, Section 982(a)(6):

                a.     any conveyance, including any vessel, vehicle, or aircraft, used in the

               commission of such offense;

                b.     any property, real or personal, that constitutes, or is derived from, or is

               traceable to any proceeds obtained, directly or indirectly, from the commission of

               such offense; and

                c.     any property, real or personal, that was used to facilitate, or intended to be

                used to facilitate, the commission of such offense.

        All pursuant to Title 18, United States Code, Section 982(a)(6) and the procedures set

 forth in Title 21, United States Code, Section 853, as incorporated by Title 18, United States

 Code, Section 982(b)(1).

                                                      A TRUE BILL


                                                      FOREPERSON

�-)[.
MARKENZYL
                                    /;-:
 UN                             y


 ZACHA      _._,___,_,,..,.LJER
 ASSISTANT UNITED STATES ATTORNEY



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                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                              CASE NO.: 24-20223-CR-BLOOM/ELFENBEIN
                                                                                   ---------------
v.
                                                                      CERTIFICATE OF TRIAL ATTORNEY
YAQULELIN DOMINGUEZ-NIEVES,
----------------I
                Defendant.                                            Superseding Case Information:
Court Division (select one)                                           New Defendant(s) (Yes or No) __
   m:l Miami      Cl Key West                  □ FTP                  Number of New Defendants
       FJL□          WPB   □                                          Total number of new counts

I do hereby certify that:
  1.    I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.    I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
        their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

  3.          Interpreter: (Yes or No) Yes
              List language and/or dialect: _Sp...,_a_ ni_ s_h_____
     4.       This case will take _8_ days for the parties to try.

  5.          Please check appropriate category and type of offense listed below:
              (Check only one)                          (Check only one)
              I    □ 0 to 5 days                     □ Petty
              II m:l 6 to 10 days                    □ Minor
                   □11 to 20 days                    □ Misdemeanor
              III
                   □21 to 60 days                    Ii Felony
              IV
              V    □61 days and over

 6.           Has this case been previously filed in this District Court? (Yes or No) No
              If yes, Judge ___________ Case No. _______________
 7.           Has a complaint been filed in this matter? (Yes or No) No
              If yes, Magistrate Case No. __________
     8.       Does this case relate to a previously filed matter in this District Court? (Yes or No) No
              If yes, Judge ________....,..� Case No. _______________
 9.
 10.
              Defendant(s) in federal custody as of NIA  �--------------------
                                                        _____________________
              Defendant(s) in state custody as of _N /_ A
 11.          Rule 20 from the ____ District of _________
 12.          Is this a potential death penalty case? (Yes or No) Yes
 13.          Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
              prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
 14.          Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior
              to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
 15.          Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
              during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? No
  16.         Did this matter involve the participation of or consultation with now Magistrate Judge Marta Fulgueira
              Elfenbein during her tenure at the U.S. Attorney's Office, which concluded o March 5, 2024? No

                                                                 By:

                                                                           Assistant United States Attorney
                                                                           Court ID No.       A5502767
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

                                 =E=L=IN
 Defendant's Name: ---=Y-=-A=O"-'UL                =M
                                       ""-'---=D=--O              E=
                                                              =-=U=
                                                       :...:..G
                                                     =IN            Z-=-N-'-"I= V-=
                                                                              E'--'-  S__________
                                                                                     E=


 Case No: ______________________________

 Count 1:

 Conspiracy to Encourage and Induce Aliens and to Bring Aliens into the United States

 Title 8, United States Code, Section 1324(a)(l)(v)(I) and (a)(l)(B)(iv)
 * Max.Term of Imprisonment: Death or Life Imprisonment
 *Mandatory Min.Term of Imprisonment (if applicable): N/A
 *Max.Supervised Release: 5 years
 *Max. Fine: $250,000

 Counts 2--4:

 Encouraging and Inducing Aliens to Enter the United States

 Title 8, United States Code, Section 1324(a)(l)(A)(iv), (v)(II), and (a)(l)(B)(iv)
 *Max.Term of Imprisonment: Death or Life Imprisonment
 *Mandatory Min.Term of Imprisonment (if applicable): N/A
 *Max. Supervised Release: 5 years
 *Max.Fine: $250,000

 Counts 5-7:

 Attempt to Bring Aliens to the United States

 Title 8, United States Code, Section 1324(a)(l)(A)(i) and (a)(l)(B)(iv)
 *Max.Term of Imprisonment: Death or Life Imprisonment
 *Mandatory Min.Term of Imprisonment (if applicable): N/A
 *Max.Supervised Release: 5 years
 *MaL Fine: $250,000




   *Refers only to possible term of incarceration, supervised release, and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

 Defendant's Name: ---=Y-=-A=O"--'U"'""L=E=L=IN�D�O�M
                                                    =IN'-'-G-"-"-UE
                                                                  = -N"""'I=
                                                                   Z--"         E=S__________
                                                                           E-'-V�


 Case No: ---------------------                                            ---------
 Counts 8-10:

 Attempt to Bring Aliens to the United States for Commercial or Private Financial Gain

 Title 8, United States Code, Section 1324(a)(2)(B)(ii)
 * Max. Term of Imprisonment: 10 years for each charge, or 15 years for each charge if
 convicted of all three
 * Mandatory Min. Term of Imprisonment (if applicable): 3 years for each charge, or 5
 years for each charge if convicted of all three
 * Max. Supervised Release: 3 years
 * Max. Fine: $250,000




   *Refers only to possible term of incarceration, supervised release, and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
